1    FILED UNDER SEAL – HIGHLY CONFIDENTIAL INFORMATION
     SUBJECT TO PROTECTIVE ORDER OF THE COURT
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11                        UNITED STATES DISTRICT COURT
12                      SOUTHERN DISTRICT OF CALIFORNIA
13                                                Case No.: 15-MD-2670 JLS (MDD)
14    IN RE: PACKAGED SEAFOOD
      ANTITRUST LITIGATION
15                                                [REDACTED] DECLARATION
16                                                OF THOMAS H. BURT IN
                                                  SUPPORT OF END PAYER
17                                                PLAINTIFFS’ MOTION FOR
                                                  CLASS CERTIFICATION
18
19                                                (FILED UNDER SEAL)
      This Document Relates to:
20
            The Indirect Purchaser End Payer      DATE:     December 20, 2018
21          Actions                               TIME:     9:00 a.m.
22                                                JUDGE:    Hon. Janis L. Sammartino
                                                  COURT:    4D (4th Floor – Schwartz)
23
24
25
26
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                                                         No. 15-MD-2670 JLS (MDD)
  EXHIBITS 1-90

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